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                EXHIBIT C
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March 22, 2010


Anna Ventresca, Esq.
General Counsel, Corporate Secretary and Chief Compliance Officer
Nortel Networks Inc.
5945 Airport Road, Suite 360
Mississauga, Ontario L4V 1R9
Canada


Dear Ms. Ventresca:

Enclosed is Huron Consulting Group’s statement for February 1, 2010 through February 28, 2010.

Pursuant to the Bankruptcy Court’s order concerning interim compensation of professionals, if no objections
are made to this thirteenth monthly statement by April 12, 2010, (20th day following service of the Monthly
Statement) the debtors are authorized to pay 80% of the fees ($194,479.20) and 100% of the expenses
($25,626.14) for a total amount due of $220,105.34.

If you have any questions on the enclosed billing or any aspect of the engagement, please do not hesitate to
contact Jim Lukenda, the engagement Managing Director.


Very truly yours,




Clarissa Tuttle
Billing Coordinator
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                                    FEES SUMMARY


Professional            Title                   Hours              Rate                   Total
James Lukenda           Managing Director        18.00   hrs   $    725 / hr         $13,050.00
Lee Sweigart            Director                 55.50   hrs   $    555 / hr         $30,802.50
Matthew J. Fisher       Director                103.20   hrs   $    555 / hr         $57,276.00
Brian Heinimann         Manager                  86.20   hrs   $    410 / hr         $35,342.00
Coley P. Brown          Manager                 120.50   hrs   $    410 / hr         $49,405.00
Michael Scannella       Associate               159.80   hrs   $    335 / hr         $53,533.00
Joseph McKenna          Associate               126.50   hrs   $    335 / hr         $42,377.50
Total Fees                                      669.70                              $281,786.00

Travel Time Discount (50%)                                                          ($11,676.00)
Agreed Accommodation on Monthly Invoice (10%)                                       ($27,011.00)


Net Fees:                                                                       $243,099.00

Blended Hourly Rate:    $           363.00
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                       EXPENSE SUMMARY

          Cost Type                               Amount
          Airfare                                $9,740.97

          Ground Transportation                  $1,616.75

          Hotel/Lodging                          $9,041.00

          M eals                                 $3,028.65

          M ileage                                 $122.00

          Parking & Tolls                          $514.00

          Rental Car                             $1,522.77

          Telecom                                   $40.00

          Total Expenses                        $25,626.14
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  Invoice Date: 3/19/10

  Nortel Networks Inc.
  5945 Airport Road, Suite 360                                                                                     DUE UPON RECEIPT
  Mississauga, Ontario L4V 1R9                                                                                     INVOICE #: 168287
  Canada                                                                                                           JOB NUMBER: 01675
                                                                                                                   HURON TAX ID#: XX-XXXXXXX

  HURON CONSULTING SERVICES LLC

 For Professional Services Rendered within the United States with the exception of Task Code 11 – Asset Sale &
Disposition Support for the period February 1, 2010 Through February 28, 2010 (All amounts are in US dollars):

  Total Fees ..........................................................................................................................   $   215,500.95

  Total Expenses ..................................................................................................................       $    25,626.14

  Total Amount Due: .........................................................................................................             $   241,127.09

  Per Interim Compensation Order amount due after 20 day objection period is:

  Fees 80% ...........................................................................................................................    $   172,400.76

  Expenses 100% .................................................................................................................         $    25,626.14

  Amount Due for this period ...........................................................................................                  $   198,026.90

  Holdback of 20% until final court approval                                                        $                  43,100.19

                                                        To ensure proper credit please
                                                       refer to invoice number 168287

                                                     FEDERAL TAX ID # XX-XXXXXXX

                                                    REMITTANCE COPY


                    Payment by wire transfer:                                                               Payment by ACH/EFT:
                          Bank of America                                                                       Bank of America
                          Chicago, Illinois                                                                     Chicago, Illinois
                      Routing No. 0260-0959-3                                                                Routing No. 071000039
           Account Title: Huron Consulting Services, LLC                                         Account Title: Huron Consulting Services, LLC
                   Account Number: 5800297276                                                            Account Number: 5800297276

                                             Comments: (Include Invoice Number to ensure proper credit)
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Invoice Date: 3/19/10

Nortel Networks Inc.
5945 Airport Road, Suite 360                                                                                    DUE UPON RECEIPT
Mississauga, Ontario L4V 1R9                                                                                    INVOICE #: 168284
Canada                                                                                                          JOB NUMBER: 01675
                                                                                                                HURON TAX ID#: XX-XXXXXXX

HURON CONSULTING SERVICES LLC

  For Professional Services Rendered within the United State for Task Code 11 – Asset Sale & Disposition
 Support regarding the sale of Nortel’s Enterprise Solutions business to Avaya, Inc. for the period February
                   1, 2010 Through February 28, 2010 (All amounts are in US dollars):

Fees 100% .........................................................................................................................    $   7,885.35

Per Interim Compensation Order amount due after 20 day objection period is:

Fees 80% ...........................................................................................................................   $   6,308.28

Holdback of 20% until final court approval                                                       $                   1,577.07

                                                      To ensure proper credit please
                                                     refer to invoice number 168284

                                                  FEDERAL TAX ID # XX-XXXXXXX

                                                 REMITTANCE COPY


                 Payment by wire transfer:                                                                Payment by ACH/EFT:
                       Bank of America                                                                        Bank of America
                       Chicago, Illinois                                                                      Chicago, Illinois
                   Routing No. 0260-0959-3                                                                 Routing No. 071000039
        Account Title: Huron Consulting Services, LLC                                          Account Title: Huron Consulting Services, LLC
                Account Number: 5800297276                                                             Account Number: 5800297276

                                          Comments: (Include Invoice Number to ensure proper credit)
                   Case 09-10138-MFW                           Doc 2741-3                Filed 03/22/10                 Page 7 of 7




Invoice Date: 3/19/10

Nortel Networks Inc.
5945 Airport Road, Suite 360                                                                                    DUE UPON RECEIPT
Mississauga, Ontario L4V 1R9                                                                                    INVOICE #: 168285
Canada                                                                                                          JOB NUMBER: 01675
                                                                                                                HURON TAX ID#: XX-XXXXXXX

HURON CONSULTING SERVICES LLC

   For Professional Services Rendered within the United States for Task Code 11 – Asset Sale & Disposition
    Support regarding the sale of Nortel’s Metro Ethernet Networks business to Ciena, Inc. for the period
                February 1, 2010 Through February 28, 2010 (All amounts are in US dollars):


Fees 100% .........................................................................................................................    $   19,712.70

Per Interim Compensation Order amount due after 20 day objection period is:

Fees 80% ...........................................................................................................................   $   15,770.16

Holdback of 20% until final court approval                                                       $                   3,942.54

                                                      To ensure proper credit please
                                                     refer to invoice number 168285

                                                  FEDERAL TAX ID # XX-XXXXXXX

                                                 REMITTANCE COPY


                 Payment by wire transfer:                                                                Payment by ACH/EFT:
                       Bank of America                                                                        Bank of America
                       Chicago, Illinois                                                                      Chicago, Illinois
                   Routing No. 0260-0959-3                                                                 Routing No. 071000039
        Account Title: Huron Consulting Services, LLC                                          Account Title: Huron Consulting Services, LLC
                Account Number: 5800297276                                                             Account Number: 5800297276

                                          Comments: (Include Invoice Number to ensure proper credit)
